 

Case: 5:11-cv-00266-JBC Doc #:1-1 Filed: 08/19/11

AUG-02-2011 04:09 TERRITORY 2

Page: 1 of 20 - Page ID#: 5

B69 244 2430 P.002/015 |

 

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' Page 1 of 1
Commonwealth of Kentucky
Court of Justice www.courts.ky.gov
CR 4.02; CR Official Form 1

Doc. Code: Cl

 

 

CIVIL SUMMONS

 

ERVINIA J Hall

Lexington Kentucky

VS.

JOANNE _ BRUNER

1500 Leestown Road.

Lexington Kentucky 40502

Service of Process Agent for Defendant:

40503,

l-

IY] Circuit [71 District —

Fayette

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Case No,
Court
County

 

 

PLAINTIFF

DEFENDANT

 

 

 

 

 

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

You are hereby notified a legal action has been filed against you in thig Court demanding relief as shown on
the document delivered to you with this Summons, Unless a written defense is made by you or by an attorney on
your behalf within 20 days following the-day this paper Is delivered to you, judgment by default may be taken against you

for the relief demanded in the attached Complaint.

The name(s) and address(es) of the party or parties demanding relief against you are shown on the document

delivered to you with this Summons.

 
 

 

 

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Proof of Service

 

This Summons was served by delivering a true copy and the Complaint (or other initiating document) to:

 

 

 

 

 

 

 

 

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aa EXHIBIT A
 

Case: 5:11-cv-00266-JBC Doc#:1-1 Filed: 08/19/11 Page: 2 of 20 - Page ID#: 6

> AUG-02-2011 04:09 TERRITORY 2 859 244 2430 P.003/015

COMMONWEALTH OF KENTUCKY

FAYETTE CIRCUIT COURT
DIVISION
_ CIVIL ACTION NUMBER:__\\- C\- 34900
ERVINIA J. HALL PLAINTIFF
Vs . COMPLAINT WL 39 zon

JOANNE BRUNER, in her Individual Capacity and her Official

Capacity as Group Manager and/or the Internal Revenue Service . DEFENDANT
SERVE: | JOANNE BRUNER
1500 Leestown Road
Lexington, Kentucky 40502

CERTIFIED MAIL~ Return Receipt Requested.
AND

STEVE BOCCHETTI, in his Individual Capacity and his Official
' Capacity as Territory Manger, and/or the Internal Revenue Service

; DEFENDANT
SERVE: STEVE BOCHETTI

600 Martin Luther King Blvd.

Louisville, Kentucky —

CERTIFIED MAIL-Return Receipt Requested
AND
INTERNAL REVENUE SERVICE,

, DEFENDANT

SERVE: TIMOTHY GEITHER |

Secretary of the Treasury
Washington, D.C. 20224
CERTIFIED MAIL — Return Receipt Requested.

kick dekh kik kik kik kkk WORK
_ The Plaintiff Ervinia J. Hall (Plaintiff, "Hall" or “Ervinia") states the following complaint

against the Defendants Joann Bruner ("Bruner") in her Individual Capacity and her Official
Case: 5:11-cv-00266-JBC Doc #:1-1 Filed: 08/19/11 Page: 3 of 20 - Page ID#: 7
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Capacity as supervisor, Steve Bochetti ("Bochetti") in his Individual Capacity and his Official
Capacity as supervisor and Internal Revenue Service ("IRS").
| JURISDICTION AND VENUE
1. At the relevant times herein, Ervinia was a resident of Lexington, Fayette County,
Kentucky employed by Defendants in Lexington, Fayette County, Kentucky.
2. At the relevant times herein, Defendant Brumer served as first level supervisor and
Group Manager, IRS, in Lexington, Fayette County, Kentucky.
3. At the relevant times herein, Defendant Bocchetti served as Tertitory Manager,
IRS, in Lexington, Fayette County, Kentucky. | |
AW Defendant IRS, 1500 Leestown Road, Suite 200, Lexington, Fayette County,
Kentucky 40502 @IRS' "\, is a body politic and corporate with perpetual succession empowered .
to do all things necessary to accomplish the purpose for which it was created. .
5. At all relevant times herein, Defendants were an “employer” as defined in KRS
Chapter 344, with more thar eight employees, subject to the anti-discrimination laws of the
Commonwealth, . . |
6 At the relevant times herein, Defendants engaged in negligent, malicious,
oppressive, intentional and reckless tortious behavior, which caused Plaintiff harm and subjects
Defendants to the jurisdiction and venue of Fayette Circuit Court, pursuant to laws’ including
but not limited to KRS Chapters 161, 338, 344 and 411.
7, Plaintiff is a qualified individual with a disability entitled to protection of. laws

including KRS Chapter 344.

 
 

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| 8. Defendants were aware of the fact that Ervinia was diagnosed with disabilities
including that of Clinical Depression and she also suffered from the disability of Traumatic
Stress Disorder. | -

9. An individual is considered to have a "disability" if she has a physical or mental .
impairment that substantially limits one or more major life activities, has a record of such an
impairment, or is regarded as having such an impairment.

10, Defendants regarded. Brvinia as disabled and understood that she had a record of
impairments that substantially limited one or more major life activities. |

11. Ervinia was a qualified individual with one or more disabilities who met legitimate -
sill, experience, education, or other requirements of the émployment position that she held at |
the IRS. |

12. Brvinia was able to perform the essential: functions of her position either with or
without reasonable accommodation. |

| 13. Traumatic Stress Disorder and Depression as suffered by Ervinia are disabilities
protected by laws designed to protect disabled individuals including KRS Chapter. 344, which
prohibits discrimination in ail employment practices, including job application procedures, _
hiring, firing, advancement, compensation, training, and other terms, conditions, and privileges
of employment, . . |

14. Defendants knew that certain of its employees including individual defendants had
a reputation of misconduct such that it was negligent to hire, retain and entrust them in high
ranking positions. : |

15..The amount in controversy is in excess of $75,000 and exceeds the jurisdictional

amount of this Court.
 

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BACKGROUND FACTS RELEVANT TO ALL COUNTS
- 16, During the relevant times herein, Hall was an employee of Defendants.
17. During the relevant times herein, Bruner was an employee of Defendants residing in
Kentucky and, among-other things, served as Hall's supervisor first level. |
-18, During ‘the relevant times herein, | Bocchetti was. an employee of Defendants
residing in Kentucky and, among other things, served as Hail’s Territory Manager. .
19. Prior to the events which are the subject of this matter, Plaintiff was a well-
respected individual in her personal and professional life, - |
20. Plaintiff has been employed by Defendants since 2008 serving as a Revenue
, Officer, Series 1160/Grade 9. |
21. Defendants engaged in purposeful, intentional, negligent and reckless misconduct
and retaliation against Hall intended to harm and disparage her in her professional and personal
life.
TORTIOUS CONDUCT
22. During the relevant times herein, Hall made it clear to Defondarits that she suffered
from disabilities. |
23. On at least one occasion, in response to requests for promotion and complaints of
unlawful conduct, Defendants retaliated and made responses including statements that Hall
. “knew what she had to do to get that job.” | |
24. During the: relevant times herein, Bruner made various discriminatory and |
retaliatory comments to Hall including statements regarding her seat placement within a
cubicle setting. Hall made it clear to persons including Bruner that such comments and

discussion were unwelcome, that she felt the discussion was inappropriate and asked that it
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stop, She was-later contacted by Bochetti and David Keeting, who apologized to her and stated
that the incident should not have taken place and that she should go home because they feared
her safety. | |

25. As a result of Hall's complaints, Bruner, along with the other Defendants, retaliated
against Hall in violation of laws including but not limited to KRS 344,280,

26. Hall complained to defendants that she felt that she was being discriminated against
based upon her sex, gender, sexual orientation and disability and that she vas suffering related
retaliation. | |

27. Defendants failed or refused to assist Hall. The IRS discouraged Hall and stated,
inter alia, that they had been threatened by "bomb threats." They further made it clear to Hall |

_ that the reason for the bomb threat was her client’s dissatisfaction with the way Hall was
handling his case. .
28. Thereafter, Hall contacted Civil Rights Compliance Officer for the IRS, Martha
Smith. |

29, Defendants encouraged and failed to prevent abusive and unlawful treatment that

she received by various co-workers. |
" 30. Hall’s manager made false or retaliatory statements regarding the involvement of
Hall during a bomb threat inquiry. .

31. Hall’s manager withheld approving her travel vouchers for weeks in retaliation to
her complaints. - | | |

32. On October 14, 2009, Hall’s manager knowingly set the security alarm while Hall

was the only person still in the building.
 

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33. On dates including October 22, 2009, Hall’s manager allowed co-workers to hide
_ Hall’s mail. .
34, Defendants” acts: were pretext for unlawful discrimination, retaliation and |
harassment. i |
| "35, This outrageous conduct caused and continues to cause Hall incredible personal and
professional embarrassment, humiliation, and physical and mental pain and other suffering,
| 36, Defendants conspired to treat Plaintiff in an unlawful discriminatory manner as
proscribed by laws including KRS Chapter 344, | |
37. Defendants’ misconduct represents a continuing violation of her right to be free
from unlawful tortious conduct. |
38. Individual Defendants took certain actions intended to interfere with the business or
contractual relationship berween Hall and IRS and otherwise intentionally intermeddle in
Plaintiff s affairs. . |
. 39. Individual Defendants’ acts were the result of their improper motive to, inter alia,
cause IRS to harm or terminate its relationship with Plaintiff and otherwise harm her in her
- professional and personal life. |
40, Individual Defendants’ tortious interference with Hall's business or contractual.
relationship and her prospective advantage with IRS caused IRS to limit or fail to advance
Plaintiff with respect to her employment or contractual relationships with Hall.
41, Defendants’ tortious conduct. directly caused Hall special and other damages
including, but not limited to, pecuniary loss of the benefits of the contract and prospective

business relationship, consequential losses, emotional distress and actual harm to reputation. |
 

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42. Defendants engaged in a pattern and practice of behavior, which was intended to
and. did cause Plaintiff severe emotional distress. |

43. Defendants had no justification or privilege to act in the tortious manner

‘ complained of herein.

44, Defendants knew that the statements were false and defamatory, or acted in reckless
disregard of these ‘Matters, or acted negligently in failing to- ascertain them. Defendants
intended to refer to Plaintiff and intended that the statements be communicated to a third
person or persons. It was Defendants’ intent to discredit Plaintiff.

45, Defendants’ statements placed Hall in a false light and injured or otherwise
interfered with her interest in the enjoyment and maintenance of her good reputation such that
Defendants are strictly liable for her damages thereto. |

| 46. Defendants’ statements and related conduct represent, among other things, libel,
. libel per sé, slander, and slander per.se. | |

47, Defendants engaged. in a pattern and practice of behavior, which was intended to
and did cause Plaintiff severe emotional distress.

48. Defendants’ conduct was so malicious and oppressive that it represents outrageous
conduct, outside the bounds tolerated by decent society. This conduct was intended to cause
very serious emotional distress to Plaintiff and in fact did cause her mental distress of a very
serious kind. |

49. Plaintiff is entitled to punitive damages for Defendants’ conduct because the
conduct was with actual malice, willful, severe and oppressive.
COUNT ONE

50. Plaintiff adopts by reference all preceding and subsequent paragraphs.

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51. As a direct result of Plaintiffs sex, gender and disabilities, in violation of certain
laws including KRS 344.040 and .280, Defendants jointly and severally intentionally and -
purposefully conspired to subject Hall to a pattern of discriminatory and retaliatory treatment.

52. Defendants’ actions represent a pattern and practice of continuing, retaliatory,
oppressive, malicious, severe, and pervasive harassment and discrimination, and a failure to
accommodate, creating a hostile work environment, in violation of laws including KRS
Chapter 344. | | |

53. Defendants had knowledge of certain or all of the intentional, oppressive, and
malicious acts complained of herein, yet either participated in or supported such conduct or
failed to take appropriate action thereto. |

COUNT TWO

54, Plaintiff adopts by reference all preceding and. subsequent paragraphs.

55. Defendants had:a duty to Plaintiff to conform to a reasonable standard of conduct in
the hiring and retention of employees. Defendants knew or reasonably should have known that
certain of its employees were likely to cause tortious and other injury to persons including
Plaintiff.

56. Defendants’ grossly negligent, reckless, and intentional hiring and retention was
made with either intentional or reckless indifference to its duties to Plaintiff, including her right
| to be free from physical and mental disturbance. | |

57. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff

| suffered.and continues to suffer extreme mental disturbance and other injuries and is entitled to
an award of damages against Defendants in an amount in excess of the minimum jurisdictional

amount of this Court.
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COUNT. THREE

58. Plaintiff adopts by reference all preceding and subsequent paragraphs,

59. Individual Defendants engaged in purposefil misconduct against Hall intended
to harm her in her professional and personal life.

_ 60. . Individual Defendants were. aware of Hall's contractual or business relationships .
with Defendants and were further aware of her continued prospective relationships with
Defendants. | | |

61. These Defendants took certain actions intended to interfere with the business or

"contractual relationship between Plaintiff’ and Defendants and otherwise intentionally
intermeddle in Plaintiff's affairs. —

62. These Defendants’ acts were the result of improper motive to, inter alia, cause
Defendants to terminate partially or refuse to promote Hall and otherwise harm her in her
professional and personal life, . | |

63. These Defendants’ tortious interference with Hall’s business or contractual .
relationship and her prospective advantage caused Plaintiff's damages described herein.

64. These Defendants’ tortious conduct directly caused Hall special and other
damages including, but not limited to, pecuniary loss of the benefits of the contract and
prospective business relationship, consequential losses, emotional distress and actual harm to
reputation.

65. These Defendants had no justification or privilege to act in. the tortious manner
complained of herein which caused the termination of certain of the contractual or business

relationships between Hall and Defendants.
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COUNT FOUR

66. Plaintiff adopts by reference all preceding and subsequent paragraphs,

67. During the relevant times herein, Defendants knowingly and maliciously
published and communicated both orally and in writing certain defamatory statements about . |

. Plaintiff. |

68. - The false communications were : such that, inter alia, they indicated an unfitness
to perform the duties of her occupation or profession and tended to expose her to public
ridicule or contempt in the relevant professional and personal conimunities.

69. Defendants knew that the statements were false and defamatory, or acted in
reckless disregard of these matters, or acted negligently in failing to ascertain them.
Defendants intended to refer to Plaintiff and intended that the statements be communicated to a
third petson or persons. it was Defendants’ intent to discredit Plaintiff.

70. Defendants have continued to publish or otherwise failed to comect the
continued dissemination of disparaging and defamatory allegations against Plaintiff that

continue to cause her damages as complained of herein.

71. Asa direct and proximate result of Defendants’ acts, Plaintiff's reputation and
her good name has been damaged in the community in which she resides and within her ~
professional community, and among her neighbors, friends, coworkers, like professionals, and

72, As a direct and proximate result of Defendants’ acts, Plaintiff has incurred
special and other damages including lost past and fixture income and employee benefits, past

and future medical expenses, and past and future mental pain and suffering.

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73. Defendants’ statements placed Plaintiff in a false light and injured or otherwise
interfered with her interest in the enjoyment and maintenance of her good reputation such that.
Defendants are strictly liable for her damages thereto.

94, — Defendants’ statements represerit libel, libel per se, slander, and slander per se.
COUNT FIVE |

75. Plaintiff adopts by reference all preceding and subsequent paragraphs.

16. Defendants placed Plaintiff in a false light which would be highly offensive toa -
reasonable person of ordinary sensibilities. - | . .

77. Defendants had knowledge of, or acted in reckless disregard as to the falsity of,
the publicized matter, the unteasonable intrusion and invasion into Plaintiffs life and the false
light in which Plaintiff was placed, |

78. As a direct ‘and proximate result of Defendants’ acts, Plaintiff has incurred

special and other damages including lost past and future income and employee benefits, past
and fixture medical expenses, ‘and past and future mental pain and suffering. |
COUNT SIX | |

79. Plaintiff.adopts by reference all preceding and subsequent paragraphs.

80. Defendants breached KRS 338.031 by purposefully placing her in situations that were
likely to cause serious physical and mental harm. Despite the fact that Defendants were aware of
Hall’s situation, they failed to take any precautions for her safety and welfare. Pursuant to KRS
446.070, Hall is entitled to recover damages.

COUNT EIGHT

81. Plaintiff adopts by reference all preceding and subsequent paragraphs,
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. 82. Defendants’ acts were so malicious, severe, willfi, fraudulent, and oppressive that
' Plaintiff is entitled to an award of punitive damages jointly and severally against Defendants in
an amount in excess of the minimum jurisdictional amount of this Court.
WHEREFORE, Plaintiff demands:
A. Judgment against Defendants, granting her damages, in excess of the minimum
jurisdictional amount of this Court, in an amount to be proven at trial, including an award of
' damages for their continuing unlawful misconduct, which includes violations of her civil rights,
negligent hiring and’ retention, injurious falsehood, interference with contractual relations,
interference with prospective advantage, defamation, libel, libel per se, slander, slander per se,
. invasion of privacy, past and future medical and related expenses, past and fature emotional
distress, mental anguish, pain and suffering, lost past and future income, wages and other
employee benefits, goodwill and reputation, past and future humiliation and injury to personal
dignity, embarrassment, outrageous conduct, and Punitive damages;
 B. . That she be awarded her costs herein expended including : an award of reasonable
attorney’s fees; | |
‘Trial by jury; and,
D. Such other relief to which ‘she may be entitled.
Respectfully Submited,

" COWAN LAW OFFICE, PLC

    

Regency Road, Suite 300
Lexington, Kentucky 40503
Ph: 859-523-8883

Fax; 859-523-8885

Email: cowan-law@insightbb.com
ATTORNEY FOR PLAINTIFF
Case: 5:11-cv-00266-JBC Doc#:1-1 Filed: 08/19/11 Page: 14 of 20 - Page ID#: 18

AUG-02-2011 O4d:11 TERRITORY 2 859 244 2430 P,015/7015

VERIFICATION
I, ERVINIA J. HALL, certify that I have carefully read and affirm that the contents of the _

above are true and correct to wa of my knowled — .
Perm. Ke
. ERVINIA.J. L

COMMONWEALTH OF KENTUCKY}
COUNTY OF FAYETTE ;

Subscribed and swom to before me by ERVINIA J. HALL on July a 1 , 2011.

My commission expires: + [Ol yf .

My identification number: 4 a 314

 

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TOTAL P.015
 

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Court [VL circuit [| pistrict

Commonwealth of Kentucky
Court of Justice www.courts.ky.gov

 

County Fayette

 

Civit SUMMONS

 

 

CR 4.02; CR Official Form 1

PLAINTIFF

ERVINIA J Hail

Lexington Kentucky . 40503

vs.

DEFENDANT

STEVE | BOCHETTI

600 Martin Luther King Blvd.

Louisville Kentucky

Service of Process Agent for Defendant:

 

 

 

 

THE COMMONWEALTH OF KENTUCKY

   

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Restricted Delivery Fee
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1 Steve Bouchetti
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* Louisville, RY 40202

 

 

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Rev. 1-07

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Commonwealth of Kentucky

 

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Court of Justice www.courts.ky.gov County Fayette
CR 4.02; CR Official Form 1 Civil SUMMONS
PLAINTIFF
ERVINIA J Hall —
Lexington 7 Kentucky 40503
‘VS,
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JOANNE BRUNER |
1500 Leestown Road
Lexington _ Kentucky 40502

Service of Process Agent for Defendant: |

 

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Commonwealth of Kentucky

Court of Justice www.courts.ky.gov

Court
CR 4.02; CR Official Form 1

 

[Vv] Circuit [| District

 

County Fayette
CiviL SUMMONS

 

 

PLAINTIFF
ERVINIA

Hall

’ Lexington

7 Kentucky
VS.

40503

DEFENDANT
INTERNAL REVENUE SERVICE
1500 Leestown Road, Suite 220 ,

Lexington

Kentucky 40502

Service of Process Agent for Defendant: .
Timothy , ae ss Geither
Secretary of State.

Washington

 

Washington D.C. 20224
THE COMMONWEA iE

 

 
  
  

 

 

 

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Internal Revense Service
1500 Leestown Road, Ste. 220
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11-CI-3900

 

 

 

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Domestic Return Receipt 1O2595-02-M1549 ¢

 
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Or On the front:if spac permits, |

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| IFYES, enter dei :

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‘Inter nal Revenue Service OF
1500 L estown Road, Ste. 220
“."“tngkon, KY. 40502

 

 
    

 

 

 

 

 

 

  
   
     

7 ‘|S Semvico Type as Rt oo
11-CI-3900 of O Certified Mal Express ‘Mall __
- 2 Registered Oo

Retum Receipt foy Merchandise
Insured Mail Ocoo, .

(Extra Fee)

 
     
   

2. Article Number. Beg,
(Transfer trom service fabep ffs)
“.PS Form 3811, February 2004
